         Case 2:08-cr-00212-TLN-EFB Document 204 Filed 11/13/08 Page 1 of 2


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 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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 8                                          ) Case No.: CR.S. 08-212 LKK
     United States of America,              )
 9                                          ) STIPULATION AND ORDER TO CONTINUE
                  Plaintiff,                ) STATUS CONFERENCE
10                                          )
          vs.                               ) Court: Hon. Lawrence K. Karlton
11                                          ) Time:   9:15 a.m.
                                            ) Date:   January 13, 2009
12   Michael Epps,                          )
                                            )
13                Defendant
14

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16        Defendant Michael Epps was convicted of one count in a 43 count
17   indictment and one count in a superceding information with violations
18   of 21 U.S.C. § 843(b) – Use of a Communication Facility in violation
19   of 21 U.S.C. § 843(b).       Judgment and sentencing was previously set for
20   December 8, 2008.        The parties request that sentencing be continued
21   to January 13, 2009, to allow time for probation to interview Mr. Epps
22   and verify information therein provided.       That date is available with
23   the Court.
24
     Dated: November 11, 2008             Respectfully submitted,
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27                                        __/s/ Shari Rusk___
                                          Shari Rusk
28                                        Attorney for Defendant
                                          Michael Epps



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         Case 2:08-cr-00212-TLN-EFB Document 204 Filed 11/13/08 Page 2 of 2



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 2
                                       /s/ Mary Grad
 3                                      Mary Grad
                                       Assistant United States Attorneys
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 6
                                       ORDER
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          IT IS SO ORDERED.
 9   DATED: November 12, 2008
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